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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA


LINIITED STATES OF AMEzuCA,                 )
                            Plaintifl       )
                                            )       CASENO. cR-17-256-R
                                            )
TIMATRESS TENAKA CADE                       )
                                            )
                        Defendant.          )

                            PETITION TO ENTER PLEA OF GUILTY

        The defendant states to the Court that the defendant wants to enter a plea of   GUILTY
to the following counts of the Indictment or Information: EIEVENI1 1)



       In connection with this plea of GUILTY, I, TIMATRESS TENAKA CADE
the defendant in this case, inform the Court, under penalty of perjury, that I have discussed
these matters with my attomey and the answers to the following questions are true and
correct to the best of my knowledge and belief.

A.      BACKGROUNDOUESTIONS

       Before the Court can accept your plea of guilty, it is necessary that the Court has
certain background information about you and this case. The questions in this section are
asked for this purpose.

l.      (a)     What is y our name? TIMATRESS TENAKA CADE

        (b)     What is your age? THIRTY (30)

2       Are you currently employed? Yes          No    /
        Ifyes, what is the name, address and telephone number ofyour employer?
                                                -

3.     How much education have you had? SOME COLLEGE



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4      Have you ever received medical care or treatment for drug addiction and/or alcohol
       abuse? Yes       No {
       [If so, prior to the hearing on the Petition to Enter Plea of Guilty, counsel for
       defendant shall submit to the judge's orders mailbox a list of the dates, places, and
       types of treatment received by defendant.]



5      Have you ever received medical care or treatment for a mental or emotional
       condition? Yes     No /
       [If so, prior to the hearing on the Petition to Enter Plea of Guilty, counsel for
       defendant shall submit to thejudge's orders mailbox a list of the dates, places, and
       types of treatment received by defendant.]



6      (a)      Have you consumed any drug, alcohol or medication that is now impairing
                your ability to think clearly or to understand and answer the questions in this
                Petition to Enter Plea of Guilty? Yes         No r'
                                                               -
       (b)      Are there any medications prescribed for you that you are not now taking as
                directed? Yes         No     /
                Ifyes, does the fact that you are not taking the medication as directed impair
                                   -
                your ability to think clearly or to understand and answer the questions in this
                Petition to Enter Plea of Guilty? Yes          _
                                                              No             _
7      If   an attomey is now representine       yoil+btliyi.ilhat           is your attorney's name?



8      If you have an attomey, have you had enough time to talk with your attomey about
       your case? Yes / No
                                       -
9      Ifyou have      an attorney, have you told your attomey everything you know about          your
       case?    Yes     /     No

10.    Ifyou have an attomey,      are you satisfied   with the services your attomey has provided
       for vou? Yes / No

1L     Do you understand the charge(s) against you?                Yes   /       No
                                                                                      -
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B.     CONSTITUTIONAL RIGHTS - WAIVERS

       Before the Court can accept your plea of guilty, it is important that you understand
that you will be giving up many valuable constitutional rights by entering a plea of guilty.
The questions in this section are designed to inform you ofthose rights.

t2.    Do you understand you have a right to plead NOT GUILTY to every charge filed
       against you?     Yes      /   No
                                          -
l3     Do you understand if you plead NOT GUILTY you have the following constitutional
       rights:

       (a)     the rieht to a speedy and public trial by jury?
               Yes     /    No

       (b)     the right to counsel at all stages ofthe proceedings, and that    if
               you cannot afford to pay a lawyer, one will be appointed to
               reDresent vou? Yes         /No

       (c)     the right to see and hear all witnesses called to   testi!   against
               you and the right to cross-examine them? Yes
                                                                   y'   No
                                                                             -
       (d)     the right to use the subpoena power of the Court to compel the
               attendance of witnesses at trial and the production of other
               forms of evidence? Yes
                                               y'
                                              No

       (e)     the right not to be compelled to incriminate yourself by taking
               the witness stand; and that ifyou do not take the witness stand,
               no inference of guilt may be drawn from your failure to do so?
               Yes    /     No

       (0      the right to be presumed innocent until the government has
               proved you guilty beyond a reasonable doubt by the unanimous
               agreement of all twelve of the jury members?
               Yes     / No-
14.    Do you understand if you plead GUILTY you will be found guilty without a trial and
       you will have given up all of the above rights, except the right to counsel?
       Yes     y' No-

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15     Do you understand if you plead GUILTY to a felony offense this may deprive you of
       valuable civil rights including the right to vote, the right to hold public office, the
       right to serve on a jury, the right to possess any kind of firearm, destructive device or
       ammunition, and may make you ineligible for certain govemment benefits?
        Yes    y'   No           Not Applicable   _
                         -
r6.     If you are not a citizen of the United States,      pleading guilty may affect your
       immigration status. Pleading   guilty may result  in your deportation or removal from
       the United States, may prevent you from ever lawfully reentering or remaining in the
       United States, and may result in the denial of naturalization. Deportation is
       mandatory for certain offenses, including most crimes involving controlled
       substances. You may be deported or removed from the United States even ifyou are
       a legal resident and even ifyou have legally lived in the United States for many years.
        Do vou understand?
        Y". / No           Not       Applicable       /
C.                       -
        SENTENCING-GENERAL

        Before the Court can accept your plea of guilty, it is important that you understand
certain aspects ofthe sentencing process. The questions in this section are designed for that
purpose.

17.    Do you realize ifyou plead GUILTY the maximum statutory sentence the judge may
       impose remains the same as if you had pled NOT GUILTY and had been convicted
       by a jury? Yes        /
                            No
                                      -
18.     Do you know the sentence you       will receive        is solely a matter for the judge to decide?
        Yes / No
19.     (a)    What is the maximum sentence the law provides for the offense(s) to which
               you want to plead GUILTY?
               The maximum penalty that could be imposed as a result of this plea
               is not more than five vears of imDrisonment or a fine of not more than
               S250.000.00. or both such fine and imo risonmenf as well as a mandatorv
               special assessment of $ 100.00 and a term ofsupervised release ofthree years




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       (b)     Is there a minimum mandatory sentence the law provides for the offense(s) to
               which you want to plead GUILTY? Yes              No / If yes, what is it?
                                                            -

       (c)     For certain offenses aterm ofsupervised release mustbe imposedto be served
               after the person is released from a term ofimprisonment. Is there a mandatory
               term of supervised release for the offense(s) to which you want to plead
               GUILTY? Yes                 /
                                       No Ifyes, what is the maximum mandatory term?
                                -

                For all other offenses, thejudge may, in thejudge's discretion, impose a term
                of supervised release to be served following the person's release from
                imprisonment. What is the maximum term of supervised release that could be
                imposed in this case?
                 NOT MORE THAN THREE (3) YEARS




                What is the maximum term of imprisonment that could be imposed if your
                supervised release were revoked?
                 NOT MORE THAN TWO (2) YEARS




       (d)      Will you be forfeiting any property to the United States as a result of your
                guilty plea? Yes       No / If yes, whatproperty?
                                    -




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20.     If you plead GUILTY, the judge may require you to make restitution to any victim of
        the offense [18 U.S.C. $$ 3663 and 3664]. If you plead GUILTY to an offense that
        occurred on or after April24, 1996, and the offense falls into certain categories of
        offenses, including property offenses and crimes ofviolence, ordinarily the judge is
        required to order you to pay restitution to any victim of the offense [18 U.S.C.
        $ 3663,4,1. Also, in certain cases, the law identifies specific classes of people or
        organizations that may be entitled to restitution. Restitution is a continuing obligation
        that does not end until it is paid in full. In other words, the United States may
        continue to seek restitution from you even though you are no longer serving a
        sentence ofconfinement or supervision. Do you understand all of this?
        Yes      r'No

21.     Thejudge must impose a special assessment for each count to which you enter a plea
        ofguilty. The amount ofthe special assessment depends on whether the offense is a
        felony or a misdemeanor [18 U.S.C. $ 3013]. In your case, taking into account each
        offense to which you want to plead guilty, the total amount of special assessment is
        S1 00.00                  . This amount will be due at the time of sentencing. Do
        you understand this? Yes      / No
                                              -
22.     Ifyou  are on probation or parole in this or any other court, do you know that by
        pleading GUILTY here your probation or parole may be revoked and you may be
        required to serve a sentence as a result ofthat revocation in addition to any sentence
        imposed upon you in this case? Yes         / No
                                                             -
z).     Do you understand that in certain circumstances a federaljudge may order a federal
        sentence of imprisonment to run at the same time as a state sentence of imprisonment?
        Yes      y'
                  No

24      Do you understand ifyou are convicted of a violation of Title 18, United States Code,
        Section 924(c), the term of imprisonment imposed for that conviction cannot be
        served concurrently with any other term of imprisonment?
        Yes      No        Not Applicable r'
             -          -




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D.     SENTENCING GUIDELINES                          AND OTHER            SENTENCING
       CONSIDERATIONS

25     In determining an appropriate sentence for a federal crime, the judge must consider
       the Sentencing Guidelines developed by the United States Sentencing Commission.
       The Sentencing Guidelines are advisory in nature, not mandatory. The judge must
       consider imposing a sentence within the range established by the Sentencing
       Guidelines, but thejudge may impose a sentence either above or below that range. Do
       you understand this? Yes / No
                                             -
26.     In calculating the range of sentence under the advisory Sentencing Guidelines, the
       judge will take into account all conduct, circumstances, and injuries associated with
       your criminal conduct, whether or not this conduct is formally charged by the
        govemment. The judge will consider all relevant conduct at the time of sentencing
        even though you are pleading guilty to fewer than all counts in the Indictment or
        Information. Do you understand this? Yes / No
                                                               -
27.    Also, there is no limitation placed on the information the judge can consider at the
       time ofsentencing concerning your background, character, and conduct so long as the
       information is reliable. The judge will take all ofthese factors into consideration in
       determining an appropriate sentence. Do you understand this? Yes        /   No
                                                                                        -
28.    If  the judge orders a presentence investigation, a U.S. Probation Officer will be
        assigned to conduct a thorough investigation and prepare a presentence report for the
       judge's use. Do you understand that if you lie to the U.S. Probation Officer, or if you
        cause others to lie on your behalf, this can be considered by the judge and may
        increase the range ofsentence calculated under the advisory Sentencing Guidelines?
       yes / No_
29.    Your history of prior criminal convictions will be used to compute your Criminal
       History Category under the Sentencing Guidelines. If you have prior felony
       convictions which were imposed or for which you have served time within the past
       l5 years, your Criminal History Category may be increased. Similarly, if you have
       received misdemeanor convictions within the past 10 years, your Criminal History
       Category may be increased. Certain exceptions may apply in your case that would
       exclude a conviction from the Criminal History Category computation. Nonetheless,
       do you understand your prior criminal history has a direct impact on the calculation
       of the sentencing range under the advisory Sentencing Guidelines?
       Yes     /    No


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30.    Do you understand     if you committed the present    offense(s) while you were on
       probation, parole, supervised release, or escape status, this will increase the number
       of points assessed in your criminal history computation. If this increases your
       Criminal History Category, do you understand it may increase the range of sentence
       calculated under the advisory Sentencing Guidelines? Yes / No
                                                                                -
31.    Do you understand if this offense is a crime of violence or a drug trafficking offense,
       and ifyou have two prior felony convictions of either a crime of violence or a drug
       trafficking offense, you could be sentenced as a career criminal offender which would
       increase the sentence you receive? Yes          No/      Not Applicable
                                                              -                 -
32.     The maximum sentence for the offense(s) to which you want to plead guilty is the
        statutory maximum set out in flfl 19, 20 and 2l above. If you are pleading guilty to
        more than one count, you could receive the maximum sentence on each count of
        conviction running consecutively (C/S). See USSG $ 5G1.2. Do you understand this?
        Yes     /   No

33.    In certain cases, the law requires the judge to impose a mandatory minimum term of
       imprisonment. Before the judge may impose a sentence below a mandatory minimum
       term, the United States Attomey must file a motion recommending a lesser sentence.
       The United States Attorney has the discretion to file such a motion if the person
       provides substantial assistance in the investigation or prosecution ofanother person.
       Do you understand this? Yes           No        Not Applicable   /
                                       -            -
34.     Ifyou cooperate and provide substantial assistance to investigating authorities, the
        United States Attomey has the discretion to file a motion requesting that the judge
        impose a sentence below the range of sentence calculated under the advisory
        Sentencing Guidelines. Do you understand this? Yes        / No
                                                                            -
35.    Parole is not available in the federal system. If you are sentenced to a term of
       imprisonment, you will serve the entire time imposed (less any earned good time
       credits that may be applied to reduce the amount of time you actually serve). The
       maximum amount of credit you may receive against your sentence will be determined
       by the Bureau of Prisons and is limited by statute [8 U.S.C. 5 36241. Do you
       understand this? Yes / No

36.     Ifat least one year of imprisonment is ordered in your case, the judge may also
       impose a term of supervised release, which you will begin serving after you are
       released from custody. For certain offenses, a term of supervised release is
       mandatory. During any term of supervised release, you will be subject to conditions

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        thatwill include refraining from any additional violations of local, state or federal
        law, reporting requirements, travel and residence restrictions, and testing for
        controlled substance use. Ifyou violate the conditions ofyour supervised release, the
       judge may revoke your supervised release and sentence you to an additional term of
        imprisonment This additional term of imprisonment would be served without credit
        for the time you successfully spent on supervised release. Do you understand this?
        Yes / No
        The judge has the discretion to impose another term of supervised release, to be
        served after you serve your sentence for violating the first term ofsupervised release.
        Ifyou violate your supervised release again, you can be sentenced to serve more time,
        followed by more supervised release, at the discretion ofthejudge. Under certain
        circumstances there is no limit to the number of times supervised release can be
        revoked and another term of supervised release imposed. Do you understand this?
        Yes    / No-
37.     In some circumstances, the judge may decide that your case warrants imposing a
        sentence with conditions other than incarceration for the full term of the sentence.
        Options available to the judge include probation, home confinement, community
        confinement, electronic monitoring, intermittent confinement, or   a   combination ofany
        of these. Do you understand this? Yes      /   No
                                                                -
38.     Ifyou plead guilty to a federal sex offense, you may be subject to state laws requiring
        the registration ofsex offenders. Do you understand this?
        Yes / No            Not Applicable y'
                            -
E.      VOLUNTARYNATUREOFPLEA

39,     Are your plea(s) of GUILTY and the waivers of your rights made voluntarily and
        completely of your own free choice, free of any force or threats or pressures from
        anyone? Yes         /
                           No

        (a)                          -
40.             Have you entered into a plea agreement with the govemment?
                Yes     /       No

        (b)     Ifso:

                Is this a conditional plea pursuant to Fed. R. Crim. P. 11(a)(2) that reserves
                certain rights to appeal? Yes       No      /
                                              -
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                Ifyes, what issues are reserved for appeal?



                Have you read the plea agreement or had the plea agreement read to
                you? Yes y' No _

                Have you had enough time to discuss the plea agreement with your
                attomey? Yes     /
                                No      _
                Were all the terms of the plea agreement explained to you, including
                any waivers of your rights? Yes      /
                                                     No       _
                Do you understand all of the terms of the plea agreement, including the
                waivers of your rights? Yes       / No-
        (c)     What are your reasons for making that agreement?
                IT IS THE RIGHT THING TO DO




        (d)    Ifyour plea ofGUILTY involves a plea agreement, do you understand that the
               judge can reject the plea agreement after completion of the presentence
                investigation if the iudge finds that the plea agreement is not in the interests
               ofjustice? Yes / No
                                              -
41.     Has any promise been made by anyone that causes you to plead GUILTY aside from
        the plea agreement, if any, set out in your answer to question 40? Yes No            /
        If yes, what promise has been made and by whom?                               -

42.     (a)     Has any officer, attomey or agent of any branch of govemment (federal, state
                or local) promised or predicted that you will receive a lighter sentence, or
                probation, or any other form of leniency if you plead GUILTY?
                Yes-No /
        (b)     Do you understand no one has any authority to make any such promise or
                prediction on your sentence because the matter of sentencing is exclusively
                within the control of the judge and no one else? Yes y' No
                                                                                  -
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43      Has the judge made any suggestion as to what the actual sentence             will    be?
        Yes         No /
44.     Are you pleading GUILTY because you are guilty?                   Yes   /   No
                                                                                         -
45.     Is there any other information or advice that you want before you enter a plea?
        Yes         No      r'

F.      CONCLUSION/FACTUALBASIS

46      Has your attorney reviewed and discussed with you all ofthese questions and your
        answers to them? Yes       /
                                   No

47.     Do you understand all ofthese questions?           Yes / No
                                                                            -
        Ifnot, which questions do you not understand?



48.     (a)      Do you now want to plead GUILTY?               Yes   /    No

                                             /                                  -
        (b)      Are you GUILTY?       Yes       No
                                                       -
49.     State what you did to commit the offense(s) to which you are now pleading              GUILTY
        ON OR ABOUT AUGUST 4, 2016, IN THE WESTERN DISTRICT OF OKLAHOMA,
        I KNOWINGLY AND WITH THE INTENT TO DECEIVE FALSELY REPRESENTED TO OKC HOI\,4ES 4 YOU

        IN   A HOME RENTAL APPLICATION FOR A RESIDENCE IN EDMOND, OKLAHOMA,
        THAT MY SOCIAL SECURITY NUMBER WAS XXX-XX-0955, WELL KNOWING THAT NU[4BER WAS
        NOT THE SOCIAL SECURITY NUMBER ASSIGNED TO ME BY THE COMMISSIONER
        OF SOCIAL SECURITY




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****************************************+***+***************!t                  *++**+*****

        I understand that if I have knowingly and intentionally made any false answers in this
Petition to Enter Plea of Guilty, my answers may be used against me in another prosecution
for perjury or making a false statement.

      Signed by me and affirmed to be true under penalty ofperjury in the presence of my
attomey on this 29TH day of DECEMBER                  2017.


                                                   Defendant

                              CERTIFICATE OF DEFENSE COUNSEL

       I, as attomey for the defendant, TIMATRESS TENEKA CADE             , hereby   certiff:

        1.    I have read and fully explained to the defendant the allegations contained in
the Indictment or Information in this case.
       2. To the best of my knowledge and belief the statements, representations, and
declarations made by the defendant in this Petition to Enter Plea of Guilty are in all respects
accurate and true.
       3.     The plea ofguilty offered by the defendant to Count(s) ELEVEN (1 1)
accords with my understanding ofthe facts the defendant has related to me, is consistent with
my advice to the defendant, and in my opinion is knowingly and voluntarily made.
       4.     I assure the Court that I have advised the defendant about the applicable
sentencing procedures, including procedures under the Sentencing Guidelines, and I have
explained to the defendant the potential consequences of a plea of guilty in light of the
questions and concerns set forth in Sections C and D ofthis Petition.

        Signed by me in the presence ofthe defendant and after full discussion ofthe contents
of this certificate with the defendant, this 29TH     v      l
                                                            DECEMBER               2017




                                                   A        ey for Defendant




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********************************************+++*************************

                    CERTIFICATE OF PROSECUTING ATTORNEY

        As attomey for the govemment, I hereby certiff:

        l.    I have read and fully discussed with defense counsel the allegations contained
in the Indictment or Information in this case.
        2.    I have also reviewed this Petition to Enter Plea of Guilty and find it to be in
accordance with my knowledge of the defendant and this case.
        3.    In myjudgment, acceptance ofthe defendant's plea(s) ofguilty to the charge(s)
in question will not undermine the statutory purposes of sentencing.

        Signed by   ..11,6 &1tauy or      M^r"t            r*               .20 11.



                                                  A             for the Govemment




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